                  THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF OHIO



  IN RE:                                             )   CHAPTER 13
                                                     )
  BARBARA JEAN BRYANT                                )   CASE NO: 19-51240
                                                     )
                                                     )
                                                     )   BANKRUPTCY JUDGE
                                                     )
                                                     )   MOTION TO WITHDRAW AS
                                                     )   ATTORNEY OF RECORD
                                                     )

       Now comes Steven J. Heimberger, attorney for the above captioned Debtor, and

respectfully requests that he be allowed to withdraw as attorney of record.

       For cause, counsel states that the Debtor has orally informed him that she wishes

to proceed pro se, and has requested that counsel withdraw as attorney of record in the

matter. Though counsel has requested that debtor provide written confirmation of the

same, Debtor has not provided the requested confirmation.

       WHEREFORE, Steven J. Heimberger, attorney for the Debtor, prays that this

court grant the relief requested herein



Respectfully submitted,

/s/ Steven J. Heimberger
STEVEN J. HEIMBERGER
Ohio Reg. No. 0084618
50 S. Main Street, 10th Floor
Akron, OH 44308
Phone: 330-434-3000
Fax: 330-434-9220
sheimberger@rlblp.com
Attorney for Barbara Jean Bryant
                              CERTIFICATE OF SERVICE


        I, Steven J. Heimberger, Attorney for Debtor Barbara Jean Bryant, do hereby

certify that on July 22, 2020, a true and correct copy of the Motion to Withdraw as

Attorney of Record was served:


Via the court’s Electronic Case Filing System on these entities and individuals who are
listed on the court’s Electronic Mail Notice List:

       Kathryn A. Belfance Trustee kb@rlbllp.com, oh01@ecfcbis.com
       Richard Kalal rkalal@kalallaw.com
       Keith Rucinski efilings@ch13akron.com
       United States Trustee (Registered address)@usdoj.gov
       Tiiara N. A. Patton ust401 tiiara.patton@usdoj.gov


And by regular U.S. mail, postage prepaid, on:

Barbara Jean Bryant
3952 Timberview Street NW, Apt. 8
North Canton, OH 44720


                                                 /s/ Steven J. Heimberger
                                                 STEVEN J. HEIMBERGER (0084618)
                                                 Attorney for Barbara Jean Bryant
